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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



JENNIFER SCHNEIDER
on behalf of minor child A.T.,

                           Plaintiff,
v.                                                            18-CV-1431V(Sr)

CITY OF BUFFALO, et al.,

                           Defendants.




                                 DECISION AND ORDER

             Plaintiff commenced this action pursuant to 42 U.S.C. § 1983, alleg ing

that her child’s school teacher, defendant Mark Magavern, assaulted her minor child

while he was attending summer school at Southside Elementary School on July 19,

2018. Dkt. #1.



             Plaintiff served defendants with discovery demands and interrogatories on

August 26, 2019. Dkt. #17-1. By email dated February 21, 2020 and March 1, 2020,

plaintiff requested that defendants respond to plaintiff’s discovery demands and

interrogatories and advised that plaintiff would file a motion to compel should such

responses not be received promptly. Dkt. #17-3.



             Currently before the Court is plaintiff’s motion to compel (Dkt. #17), and

motion to extend the Case Management Order. Dkt. #22.
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             On March 27, 2020, in response to plaintiff’s motion to compel,

defendants responded to plaintiff’s discovery demands. Dkt. #19. Counsel for

defendants requests that the motion to compel be denied as moot and attempts to

blame the delay in responding to plaintiff’s discovery demands upon the “many

difficulties posed to the nation and the world” because of Covid-19. Dkt. #19, ¶ 8.



             Plaintiff responds that defendants’ discovery responses are “riddled with

objections as opposed to actual responses” and challeng es defendants’ excuse for their

six-month delay, noting that the coronavirus was not a concern as defendants’ ignored

their discovery obligations in September, October, November and December of 2019

and in January and February of this year. Dkt. #21, ¶¶ 3 & 10. Plaintiff argues that

defendants’ objections are waived due to their delay in responding and asks that

defendants’ answer be stricken as a sanction for defendants’ failure to comply with their

discovery obligations. Dkt. #21, ¶ ¶ 4-8 & 11.



             Pursuant to Rule 33(b)(2) of the Federal Rules of Civil Procedure, absent

stipulation between the parties or order of the court, “[t]he responding party must serve

its answers and any objections within 30 days after being served with the

Interrogatories.” Similarly, pursuant to Rule 34 (a)(2)(A), absent stipulation between the

parties or order of the court, “[t]he party to whom [document demands are] directed

must respond in writing within 30 days after being served.” Rule 37(a)(5)(A) of the

Federal Rules of Civil Procedure provides, in relevant part, as follows:

             If the motion [to compel disclosure or discovery] is granted –
             or if the disclosure or requested discovery is provided after

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              the motion was filed – the court must, after giving an
              opportunity to be heard, require the party or deponent whose
              conduct necessitated the motion, the party or attorney
              advising that conduct, or both of them to pay the movant’s
              reasonable expenses incurred in making the motion,
              including attorney’s fees. But, the court must not order this
              payment if:

              (I)     the movant filed the motion before attempting
                      in good faith to obtain the disclosure or
                      discovery without court action;

              (ii)    the opposing party’s nondisclosure, response,
                      or objection was substantially justified; or

              (iii)   other circumstances make an award of
                      expenses unjust.



              In as much as defendants failed to seek an extension of time to respond

to plaintiff’s discovery requests from either plaintiff’s counsel or the Court and failed to

proffer any justification for their failure to respond to plaintiff’s discovery demands

before plaintiff filed this motion to compel, which the Court notes was prior to the

declaration of disaster emergency issued by the State of New York and prior to the

declaration of a national emergency by the United States, the Court finds that

defendants have failed to proffer any substantial justification for their failure to respond

to plaintiff’s discovery demands before plaintiff filed this motion to compel. The Court

further finds that the record does not suggest any circumstances which would make it

unjust to compensate plaintiff for the costs of having to file this motion to compel.

Accordingly, the Court directs defendants to pay to plaintiff the reasonable costs and

attorney’s fees of this motion to compel, which the Court estimates to be $750, unless

defendants object to this estimation no later than May 22, 2020, in which case plaintiff’s


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counsel shall submit an affidavit setting forth the actual cost of preparing the motion to

compel and reply to the motion to compel for the Court’s calculation of actual expenses

no later than June 12, 2020.



              The parties shall meet and confer regarding defendants’ objections to

plaintiff’s discovery demands and, to the extent that such objections cannot be

resolved, plaintiff shall file an updated motion to compel no later than June 12, 2020.

Should such a motion to compel be necessary, the parties should specifically address

the implications of the Family Educational Rights and Privacy Act (“FERPA”), upon the

outstanding discovery demands.



              In the event that the parties are able to resolve the outstanding discovery

issues, the deadlines in the Case Management Order are extended as follows:

discovery shall be completed by September 4, 2020 and dispositive motions shall be

filed by October 9, 2020.



              SO ORDERED.



DATED:        Buffalo, New York
              May 6, 2020

                                           s/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge




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